18-14194-mew       Doc 14     Filed 02/06/19    Entered 02/06/19 15:38:50          Main Document
                                               Pg 1 of 2


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------x
 In re

 LA PLACITA WASHINTON HEIGHTS CORP.                            Case No. 18-14194 (mew)

                      Debtor.                                  Chapter 11
 -------------------------------x

                                 DECLARATION OF SERVICE

        I, Cynthia Narea, being duly sworn state as follows:

        1. I am over 18 years of age and not a party to this case.

        2. On February 6, 2019 I served a copy of the following document(s) to the individuals
 and entities list on the annexed service list by either first class mail or electronic mail:

                          NOTICE OF HEARING ON DEBTOR’S
                         MOTION TO DISMISS CHAPTER 11 CASE

        I hereby certify that the foregoing statements made by me are true to the best of my
 knowledge and belief. I am fully aware that if any of the foregoing statements are willfully false,
 I am subject to punishment.


 Dated: February 6, 2019
        Astoria, New York
                                                                /s/Cynthia Narea
                                                                Cynthia Narea
   18-14194-mew    Doc 14   Filed 02/06/19    Entered 02/06/19 15:38:50   Main Document
                                             Pg 2 of 2


                             La Placita Washington Heights Corp.
                                       Service List


Creditor                               Method       Creditor                          Method
                                       of Service                                     of
                                                                                      Service

CITY OF NEW YORK                       FIRST        CON EDISON                        FIRST
FIRE DEPARTMENT                        CLASS        COOPER STATION                    CLASS
P.O. BOX 412014                        MAIL         P.O. BOX 138                      MAIL
BOSTON, MA 02241                                    NEW YORK, NY 10276
CORP. COUNSEL OF THE CITY              FIRST        DEPARTMENT OF TREASURY            FIRST
OF NEW YORK, TAX & BANKRUPTCY          CLASS        INTERNAL REVNUE SERVICE           CLASS
100 CHURCH STREET, 4TH FLOOR           MAIL         PO BOX 7346                       MAIL
NEW YORK, NY 10007                                  PHILADELPHIA, PA 19101
DEPARTMENT OF TREASURY                 FIRST        GLD FACTORING, LLC                FIRST
INTERNAL REVENUE SERVICES              CLASS        591 STEWART AVE                   CLASS
PHILADELPHIA, PA 19255                 MAIL         SUITE 520                         MAIL
                                                    GARDEN CITY, NY 11530
MARIA JIMENEZ                          FIRST        MORM MANAGEMENT CO., LLC          FIRST
C/O RYAN S. GOLDSTEIN, PLLC            CLASS        C/O MILBROOK PROPERTIES, LTD.     CLASS
43 WESTCHESTER SQUARE-SUITE 2A         MAIL         42 BAYVIEW AVENUE                 MAIL
BRONX, NY 10461                                     MANHASSET, NY 11030
NELY GUITY                             FIRST        NYC DEPARTMENT OF FINANCE         FIRST
C/O SUBIN ASSOCIATES, LLP              CLASS        BANKRUPTCY AND AUDIT UNIT         CLASS
50 BROADWAY, 23RD FL                   MAIL         345 ADAM STREET, 10TH FLOOR       MAIL
NEW YORK, NY 10038                                  BROOKLYN, NY 11201
NYS AGRICULTURE AND MARKETS            FIRST        NYS DEPT. OF TAXATION AND         FIRST
108 AIRLINE DR.                        CLASS        FINANCE, BANKRUPTCY SECTION       CLASS
ALBANY, NY 12235                       MAIL         PO BOX 5300                       MAIL
                                                    ALBANY, NY 12205
OFFICE OF ADMINISTRATION TRIAL         FIRST        ROL-ROM FOODS                     FIRST
AND HEARINGS                           CLASS        33 6TH AVENUE                     CLASS
66 JOHN STREET, 11TH FLOOR             MAIL         PATERSON, NJ 07524                MAIL
NEW YORK, NY 10038
STATE OF NEW YORK WORKERS              FIRST        WINDHAM PROFESSIONALS, INC.       FIRST
COMP                                   CLASS        382 MAIN STREET                   CLASS
BOARD                                  MAIL         SALEM, NH 03079                   MAIL
PO BOX 5200
BINGHAMTON, NY 13902
